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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION

KIMBERLY D. POLLARD and                     §
J.S. (MINOR CHILD),                         §
                                            §
       Plaintiffs,                          §
                                            §   Case No. 2:16-cv-000238-J
v.                                          §
                                            §
CHURCH OF GOD IN CHRIST, INC.;              §
CHURCH OF GOD IN CHRIST,                    §
BOARD OF BISHOPS; and BISHOP                §
JAMES L’KEITH JONES                         §
                                            §
       Defendants.                          §




                       CHURCH OF GOD IN CHRIST, INC.’S
                      BRIEF REGARDING BOARD OF BISHOPS




       Defendant, Church of God in Christ, Inc. (the Church), pursuant to the Court’s

November 16, 2017 Briefing Order (ECF 58), files its Brief Regarding Board of

Bishops as follows:




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                                            I.

                                   Issues Presented

      Plaintiffs allege one claim against the Church’s ecclesiastical Board of

Bishops: negligent supervision of Defendant Jones. Notably, Plaintiffs’ negligent

supervision claim against the Church’s ecclesiastical Board of Bishops is based on

the same underlying facts as the properly dismissed claim against the Church. This

claim fails because (a) the Board of Bishops is not suable, and (b) limitations bars

the negligent supervision claim.

                                             II.

                    The Board of Bishops is Not a Suable Entity

   Since the Church’s first appearance in this case, it has asserted that its

ecclesiastical Board of Bishops is not a suable entity. Rather, it is merely an

ecclesiastical body within the Church. The Church first raised this issue in its Motion

to Set Aside Default. In fact, the Church’s Motion to Set Aside Default provides the

only evidence before the Court on this issue. In an affidavit attached to its Motion

to Set Aside, the Church’s General Counsel testified that:

      •   The Board of Bishops was not a legal or separate entity;

      •   The Board of Bishops were not statutory officers;

      •   The Board of Bishops were not a corporate board of directors; and



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       •   The Board of Bishops is purely ecclesiastical.1

Simply put, the Board of Bishops is not a separately formed, legal entity. Although

Plaintiffs responded to the Motion to Set Aside, they did not controvert any of these

statements. In fact, they did not even address the existence of the Church’s

ecclesiastical Board of Bishops.

    After the Court granted the Church’s Motion to Set Aside, the Church’s Original

Answer continued maintaining that its ecclesiastical Board of Bishops was not

suable. In multiple places within its Original Answer, the Church specifically denied

that the Board of Bishops was a separate entity or even a legal entity.2 The Church

further raised this issue within its Affirmative Defenses.3

    The Church’s ecclesiastical Board of Bishops is not a corporation. The Plaintiffs

did not plead that it was a corporation in their Original Petition.4 And, the Church

specifically denied that it was a corporation.5 Again, it is not a separate, suable

entity as reflected by the uncontroverted evidence before the Court. Consequently,

the Church respectfully moves the Court to dismiss its ecclesiastical Board of

Bishops.



1
  See Affidavit of Uleses C. Henderson, Jr. in Support of Defendants’ Motion
to Set Aside the Entry of Default and Brief in Support, ECF 12-1, p. 00002,
2
  See Church of God in Christ, Inc.’s Original Answer, ECF 16, paras. 4 and
44.
3
  See id. at para. 37.
4
  See Plaintiffs’ Original Complaint, p. 1, para. 4.
5
  See Church of God in Christ, Inc.’s Original Answer, ECF 16, paras. 4 and
44.
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                                           III.

    Limitations Bars Any Negligent Supervision Based on the Alleged Conduct

       This Court has correctly determined that limitations long ago barred

Plaintiffs’ negligent supervision claim, and, accordingly, it dismissed the claim.6

Notably, Plaintiffs’ negligent supervision claim against the Church’s ecclesiastical

Board of Bishops (assuming it is a suable entity) is based on the same underlying

facts suffering the same fatal flaw – Plaintiff brought suit many years too late.

Consequently, the Board of Bishops is entitled to the same dismissal.

       The statute of limitations applies in a simple, straightforward way that bars

Plaintiffs’ negligent supervision claim. First, Plaintiffs pled the same the negligent

supervision claim against the Church as it did against the Church’s ecclesiastical

Board of Bishops. Specifically, Plaintiff alleged: “COGIC, INC (sic) and Church of God

in Christ Board of Bishops was negligent in its supervision of Bishop Jones

throughout the 20 year affair with Plaintiff Pollard.”7 Plaintiffs based this claim –




6
  See Memorandum Opinion and Order Granting Defendant’s Motion for Summary
Judgment, ECF 57.
7
  Plaintiffs’ Original Complaint, ECF 1, p. 3, para. 16.
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whether against the Church or its ecclesiastical Board of Bishops – on Defendant

Jones’s alleged misconduct “throughout the 20 year affair with Plaintiff Pollard.”8

      As this Court noted, limitations bars any negligent supervision claims based

on Defendant Jones’s alleged conduct:

      Pursuant to Texas’ five-year limitations period for sexual assault-based
      claims, all of her sexual assault-based claims related to Jones’
      misconduct occurring between 1995 and 2002 therefore expired at the
      latest sometime during 2007.9

These are the only sexual assault-based claims in the lawsuit, and they are the only

basis for a negligent supervision claim. Consequently, limitations bars any claims

based on this same conduct – including Plaintiffs’ ostensible claims against the

Church’s ecclesiastical Board of Bishops.

                                            V.

                                      Conclusion

      The Church respectfully asks the Court to dismiss Plaintiffs’ claims against its

ecclesiastical Board of Bishops because (a) the Board of Bishops is not a suable

entity, and (b) limitations bars Plaintiffs’ ostensible negligent supervision claim

against the Board of Bishops because it is based on the same limitations-barred

underlying conduct, and award any further relief the Church is entitled to.




8
  Id.
9
  Memorandum Opinion and Order Granting Defendant’s Motion for Summary
Judgment, ECF 57, p. 4.
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                                            Respectfully submitted,



                                      By: /s/Justin L. Jeter
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                                            ATTORNEY FOR THE CHURCH



                             CERTIFICATE OF SERVICE

      This is to certify that a copy of the foregoing has been filed with the Clerk of

Court on November 24, 2017, using the CM/ECF system and was served on the

following:

Jerry G. Matthews
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Dimmitt, TX 79027

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1401 Crickets Avenue
Lubbock, TX 79401



                                      By: /s/Justin L. Jeter
                                          Justin L. Jeter




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